            Case 1:21-cv-07992-VEC Document 8 Filed 11/03/21 Page 1 of 1
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                                                                          DOC #:
UNITED STATES DISTRICT COURT                                              DATE FILED: 11/03/2021
SOUTHERN DISTRICT OF NEW YORK
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 GEODIS USA, INC,                                               :
                                                                :
                                              Plaintiff,        :
                            -against-                           :
                                                                : 21-cv-7992 (VEC)
                                                                :
 HANJIN SHIPPING CO., LTD.,                                     :      ORDER
                                                                :
                                              Defendant. :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS Plaintiff has filed proof of service as to the Defendant, Dkt. 7;

       WHEREAS the deadline to answer or otherwise respond to the Complaint has elapsed for

the Defendant, id.; and

       WHEREAS the Defendant has neither appeared nor answered;

       IT IS HEREBY ORDERED that Plaintiff must move for an order to show cause why

default judgment should not be entered against all Defendants, in accordance with this Court’s

Individual Practices, by no later than Thursday, November 19, 2021.



SO ORDERED.
                                                        ________________________
Date: November 3, 2021                                     VALERIE CAPRONI
      New York, New York                                 United States District Judge
